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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              x
    In re:                                                    :   Chapter 11
                                                              :
    THE WEINSTEIN COMPANY HOLDINGS                            :   Case No. 18-10601 (MFW)
    LLC, et al.,                                              :
                                                              :   (Jointly Administered)
                     Debtors.1                                :
                                                              :   Re: Docket No. 2786
                                                              x

             CERTIFICATION OF NO OBJECTION REGARDING TWENTY-FOURTH
               MONTHLY APPLICATION OF CRAVATH, SWAINE & MOORE LLP
              FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
               AND FOR REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE
              DEBTORS AND DEBTORS IN POSSESSION FOR THE PERIOD FROM
              MARCH 1, 2020 THROUGH MARCH 31, 2020 (NO ORDER REQUIRED)

                   The undersigned hereby certifies that, as of the date hereof, he has received no

answer, objection or other responsive pleading with respect to the twenty-fourth monthly fee

application for compensation and reimbursement of expenses (the “Monthly Application”) of

Cravath, Swaine & Moore LLP (the “Applicant”) listed on Exhibit A attached hereto. The

Monthly Application was filed with the United States Bankruptcy Court for the District of

Delaware (the “Bankruptcy Court”) on April 29, 2020. The undersigned further certifies that he

has reviewed the Bankruptcy Court’s docket in these cases and no answer, objection or other

responsive pleading to the Monthly Application appears thereon. Pursuant to the Notice of Fee

Application filed with the Monthly Application, objections to the Monthly Application were to be

filed no later than May 19, 2020 at 4:00 p.m. (ET).


1
 The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are (3837). The
mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York
10013. Due to the large number of debtors in these cases, which are being jointly administered for procedural purposes
only, a complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent
at http://dm.epiq11.com/twc.



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                   The Monthly Application was filed and served in accordance with the Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

Professionals, dated April 17, 2018 [Docket No. 247] (the “Interim Compensation Order”).

Pursuant to the Interim Compensation Order, the above-captioned debtors and debtors in

possession are authorized to pay the Applicant eighty percent (80%) of the fees and one hundred

percent (100%) of the expenses requested in the Monthly Application upon the filing of this

certification without the need for a further order of the Bankruptcy Court. A summary of the fees

and expenses sought by the Applicant is annexed hereto as Exhibit A.




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 Dated: May 26, 2020
 Wilmington, Delaware
                                   /s/ David T. Queroli
                                   RICHARDS, LAYTON & FINGER, P.A.
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                                   Paul N. Heath (No. 3704)
                                   Zachary I. Shapiro (No. 5103)
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                                   - and -

                                   CRAVATH, SWAINE & MOORE LLP
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                                   Attorneys for the Debtors and Debtors in Possession




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                                                 EXHIBIT A

                                        Professional Fees and Expenses
                                           Monthly Fee Application

   Applicant        Fee Application       Total Fees      Total     Objection     Amount of     Amount of
                     Period, Filing       Requested     Expenses    Deadline:        Fees        Expenses
                    Date, Docket No.                    Requested                 Authorized    Authorized
                                                                                  to be Paid    to be Paid
                                                                                    @ 80%        @ 100%
Cravath, Swaine      Twenty-Fourth        $197,668.50    $508.20     5/19/20      $158,134.80    $508.20
& Moore LLP           Monthly Fee
                      Application
(Counsel to the
Debtors and          Period: 3/1/20 –
Debtors in               3/31/20
Possession)
                      Filed: 4/29/20

                    [Docket No. 2786]




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